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                                      IN THE UNITED STATES DISTRICT COUR
                                 FOR THE EASTERN DISTRICT OF VIRGINIA                                 OCT - 5 2018
                                              Newport News Division

                                                                                              CL£HK, U.S. DISTRICT COURT
    MARTY LORENZO WRIGHT,                                                                              NORFOLK. VA


    Petitioner,

    V.                                                             CRIMINAL ACTION NO. 4:95-cr-39
                                                                   CRIMINAL ACTION NO. 4:95-cr-44
    UNITED STATES OF AMERICA,

    Respondent.

                                        MEMORANDUM OPINION AND ORDER


            Before the Court is Defendant Marty Lorenzo Wright's ("Defendant Wright") Letter Motion to

    vacate his convictions on two counts under what Petitioner describes as the ''Holloway doctrine." ECF

    No. 700. The Government opposed his motion. ECF No. 706. For the reasons stated below, the Motion

    is DENIED.


                                 I.     FACTUAL AND PROCEDURAL HISTORY


            On March 5, 1997, after a week-long jury trial Defendant Wright was found guilty of multiple

    counts of drug trafficking, participation in a continuing criminal enterprise, distribution or possession

    with intent to distribute crack cocaine, and related firearm violations. On June 20, 1997, the Court

    sentenced Defendant Wright to Life imprisonment, as required under the then-mandatory sentencing

    guidelines, plus a mandatory consecutive term of 300 months due to the related gun charges.' In July

    2009, the Court reduced Defendant Wright's Life sentence to 360 months pursuant to Defendant

    Wright's § 3582 Motion. ECF No. 606. In total, Defendant Wright's reduced sentence is for 660




    ' Todaythe mandatory minimum for a first offense is ten years, with subsequent convictions staying at a mandatory twenty
    years. 18 U.S.C. § 844(h).
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months, or fifty-five years. Defendant Wright has served twenty-two years of this sentence. ECF No.

702 at 1.


        During his time in prison, Defendant Wright has taken it upon himself to not only improve

himself but those around him. In his twenty-two years of imprisonment, Defendant Wright has only

had three minor infractions, and has had no infractions in the past fourteen years. ECF No. 700 at 6.

Defendant Wright serves as a Suicide Watch Companion at the prison. Id. Most impressively.

Defendant Wright single-handedly created and has led a faith-based re-entry program for other inmates

in his prison that is supported by the Psychology Services. Id. at 7,9. Defendant Wright's "Overcomers

Mentor Training" provides education and mentoring skills that aim, among other things, to reduce gang

activity, recidivism, and encourage growth. ECF No. 700-3 at 4. As Defendant Wright himself

succinctly describes his transformation, he "has spent the majority of his time in prison being an asset

rather than a liability and has greatly contributed to the betterment of others." ECF No. 700 at 10.

       On May 4, 2017, Defendant Wright filed his Letter Motion with the Court. Id. On September

21, 2017 and June 1, 2018, he filed supplements to his motion to provide more examples of his

rehabilitation. ECF Nos. 702-03. On July 30, 2018, the Government filed its opposition. ECF No.

706. Defendant Wright filed a reply on August 31, 2018. ECF No. 707.

                                    II.    LEGAL STANDARD

       When a court imposes a sentence of imprisonment, that is considered a final judgment on the

matter. 18 U.S.C. § 3582(b). It is well established that "[t]he law closely guards the finality ofcriminal

sentences against judicial 'change of heart.'" United States v. Goodwyn, 596 F.3d 233, 235 (4th Cir.

2010) (citing United States v. Layman, 116 F.3d 105,109 (4th Cir. 1997)). Under statutory law, a "court

may not modify a term of imprisonment once it has been imposed" except in limited circumstances:
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upon a motion from the Director of the Bureau of Prisons, as permitted by Federal Rule of Criminal

Procedure 35 (for clear error or upon the Government's motion for substantial assistance), or if the

sentencing range from the Sentencing Guidelines has been lowered expost. 18 U.S.C. § 3582(c).

                                      III.    DISCUSSION


   A. T h e D e c i s i o n


       Defendant Wright sets forth what he calls the ''Holloway doctrine," based on a relatively recent

district court case. United States v. Holloway, 68 F. Supp. 3d 310 (E.D.N.Y. 2014) (Gleeson, J.). In

that case, Francois Holloway ("Holloway") was convicted of three separate counts of carjacking, each

accompanied by a count of using a firearm during a crime of violence under 18 U.S.C. § 924(c). Id. at

312. At sentencing, the court sentenced Holloway to fifty-seven years and seven months. Id. at 312-

13. This occurred because the firearm charges, like the ones Defendant Wright faced, carry mandatory

minimum consecutive sentences.       Id. at 312.    Moreover, because § 924(c) has a "recidivism

enhancement," the mandatory minimum increases after the first offense, from 5 to 20 years, even if the

individual's first offense under this statute arises from the same prosecution as the other charges. Id.

In other words, individuals like Holloway and Defendant Wright can immediately be sentenced to five

years for the first count and twenty years for each subsequent count, all to be served consecutively.

110 Stat. 3503, 18 U.S.C. § 844(h) (amended 1999); U.S.S.G. § 2K2.4(a). Holloway then pursued

appeals and collateral attacks of his conviction, to no avail. Id. at 313-14. While he was in prison,

Holloway began to better himself, much like Defendant Wright. See id. at 314.

       In July 2012, Holloway petitioned the court to reopen his § 2255 motion under Federal Rule of

Criminal Procedure 60(b). Id. The court found that "[r]ecognizing that there were good reasons to

revisit Holloway's excessive sentence but no legal avenues or bases for vacating it," ordered then-
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United States Attorney General Lorretta Lynch to consider agreeing to vacating two or more of

Holloway's convictions. Id. The United States Attorney declined to do so initially, but after the

President began a clemency initiative for which Holloway was ineligible, the court ordered the United

States Attomey to reconsider. Id. On July 10, 2014, the Assistant United States Attorney formally

withdrew the Government's opposition and stated that the Government would agree to vacate two of

Holloway's convictions under § 924(c). Id. at 315. The court then vacated Holloway's convictions,

allowing him to be released from prison after serving nearly twenty years for his crimes. Id.

    B. Decisions After Holloway

        The Holloway decision was the first to provide this form of post-conviction relief. In one other

case another federal court followed a similar pattem where the Government did not oppose the

petitioner's request to vacate his convictions. See United States v. Rivera, No. 83-cr-96 (E.D. Okla.

Sept. 15, 2015), http://www.lisa-legalinfo.eom/wp-content/uploads/2017/02/RiveraOrderl70206.pdf

However, these remain the only two instances of this form of relief.

        Out of the seventy-one district court decisions this Court could find, each court has denied the

petitioner's motion, mainly because theGovernment has opposed vacatur.^ See, e.g., Howard v. United

States, No. l:04-cr-942, 2018 WL 3973005 (E.D.N.Y. Aug. 20, 2018), appeal docketed. No. 18-2706;

United States v. Rodriguez-Mendez, 4:02-cr-3020, 2018 WL 1767852 (D. Neb. Apr. 12, 2018); Vann

V. United States, No. 02-cr-85, 2017 WL 4071139 (E.D. Okla. Sept. 14, 2017); United States v. Davis,

No. 00-0424,2017 WL 3782702 (D. Md. Aug. 31,2017); United States v. Scott, No. l:04-cr-453,2017

WL 9250298 (E.D. Va. Apr. 18, 2017); Eubanks v. United States, 92 cr. 0392, 2017 WL 2303671

(S.D.N.Y. May 9, 2017); Green v. United States, No. 4:06-cr-1322,2017 WL 679644 (D.S.C. Feb. 12,


^ No Circuit Court of Appeals has discussed Holloway directly. See, e.g.. UnitedStates v. Berry, 869 F.3d 358 (5th Cir.
2017) (mem.) (per curiam).
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2017); United States v. Sumner, No. 00cr383-01,210 F. Supp. 3d 21 (D.D.C. 2016); Buitrago v. United

States, No. l:96-cr-67, 2016 WL 4366486, at *1 n.l (S.D Fla. Aug. 16, 2016); Slade v. United States,

No. 4:08-cr-3, 2016 WL 3911918 (E.D.N.C. July 15, 2016); United States v. Marin-Moreno, No. 08-

cr-605, 2016 WL 901666 (E.D.N.Y. Mar, 9, 2016) (Gleeson, J.); Wade v. United States, No. 15-3372,

2015 WL 7732834 (D. Md. Nov. 30,2015). In fact, the same judge in Holloway denied reliefto another

prisoner under the same premise. See Marin-Moreno, 2016 WL 901666, at *2 (denying relief under

Holloway but granting relief under coram nobis for alternative reasons). Many of the decisions after

Holloway have questioned the authority federal courts have to order the Department of Justice to

consider vacating convictions. See Rodriguez-Mendez, 2018 WL 1767852, at *1 n.l (citing United

States V. Holm, 877 F.2d 677, 678 (8th Cir. 1989)) ("The Holloway court's solution to that problem,

while well-intentioned, seems to rest on the assumption that the Court can assert authority so long as

no one objects. This Court is not comfortable with that assumption. The limitation period on the Court's

authority to modify a sentence is jurisdictional."); Scott, 2017 WL 9250298, at *2 ("[I]t is arguable that

the district court in Holloway overstepped the statutory authority conferred to district courts by

Congress."); Green, 2017 WL 679644, at *3 ("Notably absent from Holloway is an explanation of any

statutory or constitutional basis for vacating Holloway's convictions.").

       Therefore, the reasoning in the Holloway decision is hardly well-established law, especially

considering it is a district court case in an entirely different circuit completely devoid of any

precedential treatment by the Court. Buitrago, 2016 WL 4366486, at *1 n.l.

   C. Defendant Wright's Situation

       Unfortunately, Defendant Wright falls into the same category as the other seventy-one

petitioners after Holloway. The Government has definitively opposed Defendant Wright's motion to
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vacate his sentence. ECF No. 706. Defendant Wright has exhausted all legal recourse available to him.

See ECF No. 705 at 1-2. As such, Defendant Wright has no avenue to have his convictions vacated

unless the Government moves under Federal Rule of Criminal Procedure 35.

        The Court, however, notes that Defendant Wright is just one of many examples of individuals

who have been sentenced disproportionally to their convictions. Defendant Wright has sentenced in

1997 under what were then the mandatory Sentencing Guidelines. Ten years later, the Supreme Court

held that the Guidelines were advisory, and a court merely needed to consider the Guidelines range.

United States v. Booker, 543 U.S. 220,245 (2005). However, the Supreme Court specifically held that

a sentencing could not be retroactively reviewed under the advisory approach unless it was pending

direct review at the time Booker was decided. Id. at 268. As such, if Defendant Wright were sentenced

today, he could receive a lower sentence that the Court deemed sufficient but not greater than necessary.

        And yet, even if he were sentenced today, the firearms violations of which Defendant Wright

was convicted are still mandatory after Booker. See 18 U.S.C. § 844(h); U.S.S.G. § 2K2.4(a).

Moreover, Defendant Wright's two firearm convictions "stack," meaning he has to serve his five-year

sentence and then his twenty-year sentence back-to-back after he finishes his sentence for the remaining

charges. In fact, the mandatory minimums have increased: a first offense would now give him ten

years, and subsequent convictions would mandate twenty years. 18 U.S.C. § 844(h). The Court

acknowledges that it has no discretion or authority to vacate Defendant Wright's conviction, but it still

disagrees with the fact that Defendant Wright was sentenced to fifty-five years and the Court is unable

to change it at this point.

        The Court commends Defendant Wright for the way he has improved not only his own life but

also the lives of others. Many individuals who enter our federal prison system become cynical and
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bitter towards the justice system. Many choose to look out only for themselves and to just wait out

their sentence. Not Defendant Wright. Defendant Wright chose to create programs for other inmates

that would allow them to better themselves. Volunteers at the prison have written to the Court regarding

Defendant Wright and his "consistency of character." It is apparent to the Court that Defendant Wright

is a rare individual in a system that has a long history of grinding down men and women.

       With that being said, the Court cannot express its frustration at its inability to act. But that is

how Congress has designed our sentencing system. Outside of a legislative act, the Court itself is

unable to grant Defendant Wright the relief he requests.

                                      IV.    CONCLUSION


       Accordingly, it is ORDERED that Petitioner's Letter Motion is DENIED.

       The Clerk is DIRECTED to send a copy of this Order to the Petitioner, the United States

Attorney, the United States Probation Office, the Federal Bureau of Prisons and the United States

Marshals Service.




       IT IS SO ORDERED.




Newport News, Virginia
October      ,2018
